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                       UNITED STATES COURT OF
                    APPEALS FOR THE FIFTH CIRCUIT                        RECEIVED

                                                                      Apr 27, 2023
SIERRA CLUB,                                )
         Petitioner,                        )
                                            )             No.
      v.                                    )
                                            )
LOUISIANA DEPARTMENT OF                     )
ENVIRONMENTAL QUALITY;                      )
and ROGER GINGLES, in his                   )
official capacity as Secretary,             )
Louisiana Department of                     )
Environmental Quality,                      )
             Respondents.                   )


                           PETITION FOR REVIEW

      Pursuant to Section 19(d)(1) of the Natural Gas Act, 15 U.S.C. § 717r(d)(1),

Federal Rule of Appellate Procedure 15, and Circuit Rule 15, Sierra Club petitions

the United States Court of Appeals for the Fifth Circuit for review of two

Louisiana Department of Environmental Quality permits, 0560-00997-V0 and

PSD-LA-841, as issued on March 28, 2023 to permit applicant Commonwealth

LNG, LLC. A copy of each permit is attached as Exhibit A.
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      In accordance with Federal Rule of Appellate Procedure 15(c)(1), Petitioner

will serve a copy of this petition on Commonwealth LNG, LLC. In accordance

with Federal Rule of Appellate Procedure 15(c)(2), a list of persons served is

attached as Exhibit B. To assist the court clerk in serving Respondents, as provided

by Federal Rule of Appellate Procedure 15(c), Petitioner has also attached, as

Exhibit C, a list of addresses for Respondents.

      This petition for review is automatically expedited pursuant to Section

19(d)(5) of the Natural Gas Act, 15 U.S.C. § 717r(d)(5).


Dated: April 27, 2023

                                                Respectfully submitted,
                                                /s/ Thomas Gosselin
                                                Thomas Gosselin
                                                Sierra Club
                                                P.O. Box 4998
                                                Austin, TX 78765
                                                (424) 346-3276
                                                tom.gosselin@sierraclub.org

                                                Joshua D. Smith
                                                2101 Webster St., Suite 1300
                                                Oakland, CA 94612
                                                (415) 977-5560
                                                joshua.smith@sierraclub.org

                                                Louisa Eberle
                                                1536 Wynkoop St., Suite 200
                                                Denver, CO 80202
                                                (415) 977-5753
                                                louisa.eberle@sierraclub.org
                                                Attorneys for Sierra Club
                                           2
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                 Exhibit B - CERTIFICATE OF SERVICE
      I hereby certify under penalty of perjury that on April 27, 2023, I have

caused a copy of the foregoing Petition for Review to be served via email on the

following persons.


Commonwealth     Scott Ray                            Sandra Safro
LNG, LLC         Chief Operating Officer              Partner
                 Commonwealth LNG, LLC                1601 K Street NW
                 1 Riverway STE 500                   Washington, DISTRICT OF
                 HOUSTON, TEXAS 77056                 COLUMBIA 20006
                 UNITED STATES                        sandra.safro@klgates.com
                 sray@teamcpl.com


                                                    /s/ Thomas Gosselin
                                                    Thomas Gosselin
                                                    Sierra Club
                                                    P.O. Box 4998
                                                    Austin, TX 78765
                                                    (424) 346-3276
                                                    tom.gosselin@sierraclub.org

                                                    Attorney for Sierra Club
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                   Exhibit A – PERMIT DOCUMENTS
[Enclosed]
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                  Exhibit C – Respondents List
            Respondents               Contact Information
      Louisiana Department        Roger W. Gingles
      of Environmental            Secretary
      Quality                     Louisiana Department of
                                  Environmental Quality
                                  602 N. Fifth Street
                                  Baton Rouge, LA 70802
      Roger W. Gingles, in        Roger W. Gingles
      his official capacity as    Secretary
      Secretary, Louisiana        Louisiana Department of
      Department of               Environmental Quality
      Environmental Quality       602 N. Fifth Street
                                  Baton Rouge, LA 70802
